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 5
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 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
        TODD DILLON, individually and on            Case No.
10
        behalf of all others similarly situated,
11                                                  CLASS ACTION COMPLAINT
                     Plaintiff,
12
                                                    DEMAND FOR JURY TRIAL
13      v.
14
        UNIVERSAL PROMOTE, INC., a
15      Delaware registered corporation,
16
                     Defendant.
17

18
             Plaintiff Todd Dillon (“Dillon” or “Plaintiff”) brings this Class Action
19
      Complaint and Demand for Jury Trial against Defendant Universal Promote, Inc.
20

21    doing business as Zentap (“Zentap” or “Defendant”) to stop Zentap from violating
22
      the Telephone Consumer Protection Act by sending unsolicited, autodialed text
23
      messages to consumers, and to otherwise obtain injunctive and monetary relief for
24

25    all persons injured by Zentap’s conduct. Plaintiff, for his Complaint, alleges as
26
      follows upon personal knowledge as to himself and his own acts and experiences,
27

28
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 1 and, as to all other matters, upon information and belief, including investigation

 2 conducted by his attorneys.

 3
                                          PARTIES
 4

 5         1.     Plaintiff Dillon is a Wilmington, North Carolina resident.
 6         2.     Defendant Zentap is a Delaware registered limited liability company
 7
     with its head office located in Beverly Hills, California. Zentap does business
 8

 9 throughout this District, California, and the United States.

10                            JURISDICTION AND VENUE
11
           3.     This Court has federal question subject matter jurisdiction over this
12

13 action under 28 U.S.C. § 1331, as the action arises under the Telephone Consumer

14 Protection Act, 47 U.S.C. §227 (“TCPA”).

15
           4.     This Court has personal jurisdiction over Defendant and venue is
16

17 proper in this District under 28 U.S.C. § 1391(b) because Defendant resides in this

18 District, and because the wrongful conduct giving rise to this case was directed

19
     from this District.
20

21                                TCPA BACKGROUND
22
           5.     The TCPA makes it unlawful “to make any call (other than a call
23
     made for emergency purposes or made with the prior express consent of the called
24

25 party) using an automatic telephone dialing system or an artificial or prerecorded

26

27
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 1 voice…to any telephone number assigned to a…cellular telephone service.” See 47

 2 U.S.C. §227 (b)(1)(A)(iii).

 3
           6.      According to findings by the Federal Communication Commission
 4

 5 (“FCC”), the agency Congress vested with authority to issue regulations

 6 implementing the TCPA, such calls are prohibited because, as Congress found,

 7
     automated or prerecorded telephone calls are a greater nuisance and invasion of
 8

 9 privacy than live solicitation calls, and such calls can be costly and inconvenient.

10         7.      While “prior express consent” is required for all automated and
11
     prerecorded calls, in 2013, the FCC required “prior express written consent” for all
12

13 such telemarketing calls to wireless numbers and residential lines. Specifically, it

14 ordered that:

15
           [A] consumer’s written consent to receive telemarketing robocalls must be
16         signed and be sufficient to show that the consumer: (1) received “clear and
17         conspicuous disclosure” of the consequences of providing the requested
           consent, i.e. that the consumer will receive future calls that deliver
18         prerecorded messages by or on behalf of a specific seller; and (2) having
19         received this information, agrees unambiguously to receive such calls at a
           telephone number the consumer designates.[] In addition, the written
20
           agreement must be obtained “without requiring, directly or indirectly, that
21         the agreement must be executed as a condition of purchasing any good or
           service.[]”
22

23 In the Matter of Rules and Regulations Implementing the Tel. Consumer Prot. Act

24
     of 1991, 27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).
25

26

27
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 1         8.    “Telemarketing” is defined as “the initiation of a telephone call or

 2 message for the purpose of encouraging the purchase or rental of, or investment in,

 3
     property, goods, or services, which is transmitted to any person.” 47 C.F.R
 4

 5 §64.1200(f)(12).

 6         9.    When Congress enacted the TCPA in 1991, it found that telemarketers
 7
     called more than 18 million Americans every day. 105 Stat. 2394 at § 2(3).
 8

 9         10.   By 2003, due to more powerful autodialing technology, telemarketers
10 were calling 104 million Americans every day,. In re Rules and Regulations

11
     Implementing the TCPA of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).
12

13         11.   The problems Congress identified when it enacted the TCPA have
14 only grown exponentially in recent years.

15
           12.   Industry data shows that the number of robocalls made each month
16

17 increased from 831 million in September 2015 to 4.7 billion in December 2018—a

18 466% increase in three years.

19
           13.   According to online robocall tracking service “YouMail,” 4.1 billion
20

21 robocalls were placed in March 2020 alone, at a rate of 132.5 million per

22
     day. www.robocallindex.com last visited Apr. 24, 2020).
23
           14.   The FCC also has received an increasing number of complaints about
24

25 unwanted calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and

26

27
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 1 232,000 complaints in 2018. FCC, Consumer Complaint Data

 2 Center, www.fcc.gov/consumer-help-center-data.

 3
           15.    “Robocalls and telemarketing calls are currently the number one
 4

 5 source of consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls

 6 (July 22, 2016), statement of FCC chairman. 1

 7
           16.    “The FTC receives more complains about unwanted calls than all
 8

 9 other complaints combined.” Staff of the Federal Trade Commission’s Bureau of

10 Consumer Protection, In re Rules and Regulations Implementing the Telephone

11
     Consumer Protection Act of 1991, Notice of Proposed Rulemaking, CG Docket
12

13 No. 02-278, at 2 (2016).
                            2


14                              COMMON ALLEGATIONS
15
           17.    Universal Promote, Inc. operates using the d/b/a Zentap.
16

17         18.    Zentap provides lead generation services to real estate agents.
18         19.    Zentap is open about the success it experienced in its first year of
19
     operation, attributing that success purely to cold calling real estate agents:
20

21

22

23

24

25  https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
     1
     2
26 https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
   consumer-protection-federal-communications-commission-rules-
27 regulations/160616robocallscomment.pdf
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 7

 8
           20.    Zentap markets its services to real estate agents through autodialed
 9
     phone calls and text messages.
10

11         21.    These calls and text messages are being sent without the necessary
12
     prior express written consent when sent using an autodialer.
13
           22.    Employees and former employees have posted about their experience
14

15 working for Zentap, complaining about the cold calling they were involved in.

16
           23.    A former employee wrote in a Glassdoor review, “It is a boiler room
17
     setting no room for error, and mainly just cold calling all day long that can get very
18

19 mundane and wouldn’t recommend it to people that aren’t sales oriented.” 4

20
           24.    A current employee also complained, claiming they were engaged in
21
     100% cold calling to generate sales:
22

23

24

25
     3
26   https://www.iheart.com/podcast/269-sales-vs-marketing-52370252/episode/interview-with-
   kyle-james-vp-sales-53311770/
   4
27 https://www.glassdoor.co.in/Reviews/Universal-Promote-Reviews-E2009025.htm
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11         25.    Job postings for Zentap also make specific reference to placing cold
12
     calls that are placed to real estate agents throughout the U.S.:
13

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15

16

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19

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                                                                               6
23

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25
     5
26   https://www.glassdoor.com/Reviews/Zentap-Reviews-E3044184.htm
     6
     https://www.ziprecruiter.com/jobs/universal-promote-c67e50a9/telemarketer-sales-
27 representative-c657f210
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 1         26.   In sending the unsolicited text messages at issue, Defendant, or a third

 2 party acting on its behalf, used an automatic telephone dialing system; hardware

 3
     and/or software with the capacity to store or produce cellular telephone number to
 4

 5 be called, using a random or sequential number generator. This is evident from the

 6 circumstances surrounding the text messages, including the ability to trigger an

 7
     automated response by replying “help” and “Stop,” the text messages’ commercial
 8

 9 and generic content, and that substantively identical texts were sent to multiple

10 recipients, which is consistent with the use of an automatic telephone dialing

11
     system to send text messages.
12

13         27.   In an interview with Kyle James, former VP of Sales for Zentap
14 described the daily routine of Zentap sales agents, which includes autodialer

15
     training and placing outbound calls using an autodialer:
16

17

18

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27
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11         28.      There are many online complaints regarding Zentap’s unsolicited calls
12
     to consumers, many of which indicate the use of an autodialer:
13

14
                 • “Robocall”8

15               • “Spoke with Eric twice. They have no real plan except to post articles
                   and listings on your behalf. When I pointed out to Eric that we had
16
                   the same exact conversation he hung up on me. They are also
17                 spoofing some poor lady's phone number locally, so don't expect a
                   call looking like it is from their actual office. Eric also said he was
18
                   from Baltimore, but couldn't pronounce it, which is a dead
19                 giveaway.”9
20               • “I just had a call from this company. The person i was speaking to,
21                 either Kyle or Daniel or Mike, claimed they got me through google
                   but really they got me through realtor.com as i later found out from
22                 the manager. I don't mind sales calls. I get them all the time, what i do
23                 mind is someone calling me telling me how to run my business and
                   trying to insult me that I dont run my business properly. Then shove
24                 me with " i have a buyer" crap. So no, you wont get my business. FYI
25
     7
26   https://predictablerevenue.com/blog/keys-to-effective-onboarding-and-training-for-sdrs
     8
     Id.
   9
27 https://www.yelp.com/biz/universal-promote-los-angeles-2
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 1                   they called me from a local number pretending they are local. Bay
                     Area agents beware, their number is 510-561-2134.”10
 2
                  • “Absolute harassment - refused to stop calling me - would argue with
 3
                    me and yell at me on the phone for telling them to stop spam calling
 4                  me - they should be fined! Stay far away!”11
 5                • “As a Realtor®, I get multiple sales calls every week, especially from
 6                  companies that want to help me promote my business. No big deal.
                    The guy that called me from this company was a GREAT sales
 7
                    person. I even told him straight up, he's full of s*** and should sell
 8                  used cars.”12
 9                • “Very persistent. After 8 phone calls I agreed to try the system but
10                  after 2 other people got on the line encouraging me to sign up for a
                    year, then 6 months. I asked to cancel but they already had my credit
11                  card # and charged me anyway.”13 (emphasis added)
12
                  • “Absolutely unprofessional attitude by saleperson @ Universal
13                  Promote. Deceptive practice of bouncing off of local phone
                    numbers. This company robo calls me repeatedly daily. I have stated
14
                    NOT interested and remove me from your list and the calls
15                  continue. Just got off the phone with salesperson that had an attitude
16
                    with me after I politely asked to be removed from list (again), and was
                    told they don't need my business. They why do you keep calling?
17                  And the 3-4 times a day I am robo called it hangs up on me.”14
18           Plaintiff Received Unsolicited an Autodialed Text Message to His
19          Cell Phone Number from Defendant Despite Being on the DNC List
20          29.      Plaintiff Dillon is a real estate agent in North Carolina.
21

22

23

24
      Id.
     10

25    Id.
     11


26 13 Id.
   12

      Id.
27 14
      Id.
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 1         30.    On October 31, 2018 at 1:58 PM, Plaintiff Dillion received an

 2 unsolicited, autodialed text message on his cell phone from Defendant using phone

 3
     number 910-507-2043:
 4

 5

 6

 7

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14

15
           31.    The unsolicited text message advertises Zentap’s video commercial
16

17 services.

18
           32.    Plaintiff believes this text message was sent using an autodialer based
19
     on the generic content of the text message and because the text instructs him to
20

21 reply “remove” to unsubscribe.

22
           33.    Plaintiff’s attorneys texted “help” and “Stop” to 910-507-2043, the
23
     phone number that the text message was sent from. Immediate automated
24

25 responses were generated, indicating that the phone number is hooked up to an

26
     autodialer system:
27
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11         34.   Based on another investigation conducted by Plaintiff’s attorneys,
12
     when 910-507-2043 is called, an automated system identifies the company as
13

14
     being Universal Promote.

15         35.   Plaintiff has never had a relationship with Zentap and has never
16
     provided Zentap express written consent to call or text his cell phone number.
17

18         36.   The unauthorized text message sent by Zentap, as alleged herein, has

19 harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and

20
     disturbed Dillon’s use and enjoyment of his cellular phone, in addition to the wear
21

22 and tear on the phone’s hardware (including the phone’s battery) and the

23 consumption of memory on the phone.

24
           37.   Seeking redress for these injuries, Dillon, on behalf of himself and a
25

26 Class of similarly situated individuals, brings suit under the Telephone Consumer

27
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 1 Protection Act, 47 U.S.C. § 227, et seq., which prohibits unsolicited autodialed text

 2 messages to cellular telephones.

 3
                                  CLASS ALLEGATIONS
 4

 5            Class Treatment Is Appropriate for Plaintiff’s TCPA Claims
 6         38.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
 7
     23(b)(2) and Rule 23(b)(3) on behalf of himself and all others similarly situated
 8

 9 and seeks certification of the following Class:

10         Autodialed No Consent Class: All persons in the United States who
11         from four years prior to the filing of this action through class
           certification (1) Defendant (or an agent acting on behalf of Defendant)
12         text messaged, (2) on the person’s cellular telephone number, (3) using
13         a text messaging platform substantially similar to the text messaging
           platform Defendant used to text message Plaintiff, (4) for whom
14         Defendant claims (a) it obtained prior express consent in the same
15         manner as Defendant claims it supposedly obtained prior express
           consent to text message Plaintiff, or (b) it did not obtain prior express
16         consent.
17
           39.    The following individuals are excluded from the Class: (1) any Judge
18

19 or Magistrate presiding over this action and members of their families; (2)

20
     Defendant, its subsidiaries, parents, successors, predecessors, and any entity in
21
     which Defendant or its parents have a controlling interest and their current or
22

23 former employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons who

24
     properly execute and file a timely request for exclusion from the Class; (5) the
25
     legal representatives, successors or assigns of any such excluded persons; and (6)
26

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 1 persons whose claims against Defendant have been fully and finally adjudicated

 2 and/or released. Plaintiff anticipates the need to amend the Class definition

 3
     following appropriate discovery.
 4

 5         40.    Numerosity: On information and belief, there are hundreds, if not
 6 thousands of members of the Class such that joinder of all members is

 7
     impracticable.
 8

 9         41.    Commonality and Predominance: There are many questions of law
10 and fact common to the claims of Plaintiff and the Class, and those questions

11
     predominate over any questions that may affect individual members of the Class.
12

13 Common questions for the Class include, but are not necessarily limited to the

14 following:

15
                  (a) whether Defendant used an automatic telephone dialing system to
16                    send text messages to Plaintiff and the members of the Autodialed
17                    No Consent Class;
18                (b) whether Defendant sent the text messages to Plaintiff and the
19                    members of the Autodialed No Consent Class without the
                      necessary consent;
20

21                (c) whether Defendant’s conduct constitutes a violation of the TCPA;
                      and
22

23                (d) whether members of the Class are entitled to treble damages based
                      on the willfulness of Defendant’s conduct.
24

25         42.    Adequate Representation: Plaintiff will fairly and adequately
26
     represent and protect the interests of the Class, and has retained counsel competent
27
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 1 and experienced in class actions. Plaintiff has no interests antagonistic to those of

 2 the Class, and Defendant has no defenses unique to Plaintiff. Plaintiff and his

 3
     counsel are committed to vigorously prosecuting this action on behalf of the
 4

 5 members of the Class, and have the financial resources to do so. Neither Plaintiff

 6 nor his counsel has any interest adverse to the Class.

 7
           43.    Appropriateness: This class action is also appropriate for
 8

 9 certification because Defendant has acted or refused to act on grounds generally

10 applicable to the Class and as a whole, thereby requiring the Court’s imposition of

11
     uniform relief to ensure compatible standards of conduct toward the members of
12

13 the Class and making final class-wide injunctive relief appropriate. Defendant’s

14 business practices apply to and affect the members of the Class uniformly, and

15
     Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect
16

17 to the Class, not on facts or law applicable only to Plaintiff. Additionally, the

18 damages suffered by individual members of the Class will likely be small relative

19
     to the burden and expense of individual prosecution of the complex litigation
20

21 necessitated by Defendant’s actions. Thus, it would be virtually impossible for the

22
     members of the Class to obtain effective relief from Defendant’s misconduct on an
23
     individual basis. A class action provides the benefits of single adjudication,
24

25 economies of scale, and comprehensive supervision by a single court.

26

27
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 1                              FIRST CAUSE OF ACTION
                           Telephone Consumer Protection Act
 2                             (Violations of 47 U.S.C. § 227)
 3               (On Behalf of Plaintiff and the Autodial No Consent Class)

 4         44.     Plaintiff repeats and realleges paragraphs 1 through 43 of this
 5
     Complaint and incorporates them by reference.
 6

 7         45.     Defendant and/or its agents sent unwanted solicitation text messages
 8 to cellular telephone numbers belonging to Plaintiff and the other members of the

 9
     Autodialed No Consent Class using an autodialer.
10

11         46.     These solicitation text messages were sent en masse without the
12 consent of the Plaintiff and the other members of the Autodialed No Consent Class

13
     to receive such solicitation text messages.
14

15         47.     Defendant’s conduct was negligent, wilful, or knowing.
16         48.     Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a
17
     result of Defendant’s conduct, Plaintiff and the other members of the Autodialed
18

19 No Consent Class are each entitled to between $500 and $1,500 for each and every

20
     text message.
21
                                   PRAYER FOR RELIEF
22
           WHEREFORE, Plaintiff Dillon, individually and on behalf of the Class,
23

24 prays for the following relief:

25
        a) An order certifying the Class as defined above, and appointing Plaintiff as
26
           the representative of the Class and his attorneys as Class Counsel;
27
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 1      b) An award of actual and/or statutory damages and costs;

 2      c) An order declaring that Defendant’s actions, as set out above, violate the
 3
           TCPA;
 4

 5      d) An injunction requiring Defendant to cease all unsolicited texting activity,
 6         and to otherwise protect the interests of the Class; and
 7
        e) Such further and other relief as the Court deems just and proper.
 8

 9                                     JURY DEMAND
10         Plaintiff Dillon requests a jury trial.
11
                                              Respectfully Submitted,
12

13                                            TODD DILLON, individually and on
                                              behalf of those similarly situated individuals
14

15
     Dated: May 11, 2020                      /s/ Rachel E. Kaufman
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